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 6 Attorney for Defendant
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            2:15-CR-00015 GEB

12                                 Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                          CONTINUING STATUS CONFERENCE, AND
13                           v.                           EXCLUDING TIME UNDER THE SPEEDY
                                                          TRIAL ACT
14   SONIA KIM, ET AL.,
                                                          DATE: September 29, 2017
15                                 Defendants.            TIME: 9:00 a.m.
                                                          COURT: Hon. Garland E. Burrell, Jr.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant Sonia
18 Kim, by and through her counsel of record, hereby stipulate as follows:

19          1.       By previous orders, this matter was set for status conference on September 29, 2017.
20          2.       By this stipulation, defendant Sonia Kim seeks to continue the status conference and to
21 exclude time between September 29, 2017 and October 20, 2017 at 9:00 a.m. under Local Code T4.

22          3.       The parties agree and stipulate, and request that the Court find the following:
23                   a)     The discovery in this case includes 130 pages of investigative reports and related
24          documents jointly provided to all defense counsel. The government provided individual defense
25          counsel with data and reports from the alleged cell phones of their respective clients, consisting
26          of thousands of pages. The disclosure of this material to all defense counsel has not resulted in a
27          joint stipulation for disclosure, but the parties are continuing to communicate to reach an
28          agreement for disclosure, as well as having discussions concerning the resolution of this case.

      STIPULATION AND [PROPOSED] ORDER CONTINUING
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 1                   b)     Defendant’s counsel need to consult with his client, conduct investigation, review

 2          discovery and seek a solution to the discovery of the cell phone contents, as well as continuing

 3          the discussions regarding the resolution of this case.

 4                   c)     Counsel for defendant Sonia Kim believes that failure to grant the above-

 5          requested continuance would deny him the reasonable time necessary for effective preparation,

 6          taking into account the exercise of due diligence.

 7                   d)     The government does not object to the continuance.

 8                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of September 29, 2017 and October

13          20, 2017 inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local

14          Code T4] because it results from a continuance granted by the Court at defendant’s request on

15          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

16          best interest of the public and the defendant in a speedy trial.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: September 25, 2017                                   PHILLIP A. TALBERT
                                                               United States Attorney
22
                                                               /s/ PAUL A. HEMESATH
23                                                             PAUL A. HEMESATH
                                                               Assistant United States Attorney
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25 Dated: September 25, 2017                                   /s/ DAVID W. DRATMAN
                                                               DAVID W. DRATMAN
26
                                                               Counsel for Defendant
27                                                             SONIA KIM

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      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
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 1                                   [PROPOSED] FINDINGS AND ORDER

 2          The Court, having considered the stipulation of the parties, and good cause appearing therefrom,

 3 adopts the stipulation of the parties in its entirety as its order. Based on the stipulation of the parties, the

 4 Court finds that the failure to grant the requested continuance would deny defense counsel reasonable

 5 time necessary for effective preparation, taking into account the exercise of due diligence. The Court

 6 specifically finds that the ends of justice served by the granting of such continuance outweigh the

 7 interests of the public and that the time from September 29, 2017 to October 20, 2017 inclusive shall be

 8 excluded from computation of time within which the trial of the case of Sonia Kim must be commenced

 9 under the Speedy Trial Act, pursuant to Local Code T4 (time for defense counsel to prepare and
10 continuity of counsel pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv)).

11          Dated: September 27, 2017

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      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
